                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION
                           No. 7:17-CR-36-1H


UNITED STATES OF AMERICA,          )
                                   )
                                   )
                                   )
     v.                            )
                                   )
                                                      ORDER
                                   )
TRANQUERE SANCHEZ IRONS,           )
                                   )
     Defendant.                    )


     This matter is before the court on defendant’s motion, through

counsel, seeking temporary release from custody to attend the

funeral of his grandmother.      He seeks to be released to a third-

party custodian for a 12-hour period.      The court, having carefully

considered the matter and the totality of the circumstances, DENIES

the motion.

     This 13th day of May 2020.



                            __________________________________
                            Malcolm J. Howard
                            Senior United States District Judge
At Greenville, NC
#26




       Case 7:17-cr-00036-H Document 124 Filed 05/13/20 Page 1 of 1
